   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 1 of 11 PageID #: 1



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

PAINTERS DISTRICT COUNCIL NO. 58,                       )
GREGG SMITH, in His Capacity as Business                )
Manager of PAINTERS DISTRICT COUNCIL NO. 58, )
SAINT LOUIS PAINTERS PENSION TRUST, SAINT               )
LOUIS PAINTERS WELFARE TRUST, SAINT LOUIS )
PAINTERS VACATION TRUST, and PAINTERS                   )
DISTRICT COUNCIL NO. 2 APPRENTICESHIP AND )
JOURNEYMAN TRAINING TRUST, By and through               )
GREGG SMITH, DAVID DOERR, RICHARD LUCKS, )
JOSEPH MUELLER, CARL FARRELL, DONALD                    )
THOMAS, DANIEL WIENSTROER, MICHAEL SMITH, )                          Case No.
WALTER BAZAN JR., KYLE LOPEZ, MARK                      )
BORGMANN, JOSEPH KEIPP, TIM WEIS and DANE )
MCGRAW, in Their Representative Capacities as Trustees, )            NO JURY TRIAL
                                                        )
                        Plaintiffs,                     )
                                                        )
v.                                                      )
                                                        )
SUTTON PAINTING, LLC,                                   )
                                                        )
and                                                     )
                                                        )
SHEILA SUTTON.                                          )
                        Defendants.                     )

                                          COMPLAINT

                            COUNT I – SUTTON PAINTING LLC

       COME NOW Plaintiffs, and for their cause of action against Sutton Painting, LLC,

(hereinafter referred to as “Sutton Painting”), state as follows:

       1.      Jurisdiction over this cause of action and the parties is conferred by §§ (a), (b) and

(c) of § 301 of the Labor Management Relations Act of 1947 (hereinafter “LMRA”), 29 U.S.C. §

185 and by §§ 502(e)(1) and (f) of the Employee Retirement Income Security Act of 1974

(hereinafter “ERISA”), 29 U.S.C. § 1132(e)(1) and (f).
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 2 of 11 PageID #: 2



       2.      Venue in this Court is appropriate by virtue of § 502(e)(2) of ERISA, 29 U.S.C.

1132(e)(2).

       3.      Plaintiff Painters District Council No. 58 (f/k/a Painters District Council No. 2 and

hereinafter “Painters”) is a “labor organization” within the meaning of § 2(5) of the National Labor

Relations Act (hereinafter “NLRA”), 29 U.S.C. §152(5), representing employees in an industry

affecting commerce within the meaning of § 301 of the LMRA, 29 U.S.C. § 185, and is an

“employee organization” within the meaning of § 3(4) of ERISA, 29 U.S.C. § 1002(4).

       4.      Painters maintains its principal offices within this judicial district at 2501 59th

Street, St. Louis, Missouri 63110.

       5.      The Saint Louis Painters Pension Trust (f/k/a Painters District Council No. 2

Pension Trust and hereinafter “Pension Trust”) is an employee benefit plan within the meaning of

§§ 3(3) and 502(d)(1) of ERISA, 29 U.S.C. §§ 1002(3) and 1132(d)(1).

       6.      The Pension Trust is a multiemployer plan within the meaning of § 3(37)(A) of

ERISA, 29 U.S.C. § 1002(37)(A).

       7.      The Pension Trust is administered within this judicial district in Maryland Heights,

St. Louis County, Missouri 63043.

       8.      Plaintiffs Gregg Smith, Carl Farrell, Richard Lucks, Daniel Wienstroer, Tim Wies

and Kyle Lopez constitute the Joint Board of Trustees of the Pension Trust (“Pension Trustees”).

       9.      The Pension Trustees are the Plan Sponsor of the Pension Trust within the meaning

of § 3(16)(B) of ERISA, 29 U.S.C. § 1002(16)(B).

       10.     The Pension Trustees are fiduciaries within the meaning of § 3(21)(A) of ERISA,

29 U.S.C. § 1002(21)(A), with respect to the Pension Trust.




                                                 2
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 3 of 11 PageID #: 3



       11.    The Saint Louis Painters Welfare Trust (f/k/a Painters District Council No. 2

Welfare Trust and hereinafter “Welfare Trust”) is an employee benefit plan within the meaning of

§§ 3(3) and 502(d)(1) of ERISA, 29 U.S.C. §§ 1002(3) and 1132(d)(1).

       12.    The Welfare Trust is a multiemployer plan within the meaning of § 3(37)(A) of

ERISA, 29 U.S.C. § 1002(37)(A).

       13.    The Welfare Trust is administered within this judicial district in Maryland Heights,

St. Louis County, Missouri 63043.

       14.    Plaintiffs Gregg Smith, Joseph Mueller, Carl Farrell, Walter Bazan Jr., Michael

Smith and Don Thomas constitute the Joint Board of Trustees of the Welfare Trust (“Welfare

Trustees”).

       15.    The Welfare Trustees are the Plan Sponsor of the Welfare Trust within the meaning

of § 3(16)(B) of ERISA, 29 U.S.C. § 1002(16)(B).

       16.    The Welfare Trustees are fiduciaries within the meaning of § 3(21)(A) of ERISA,

29 U.S.C. § 1002(21)(A), with respect to the Welfare Trust.

       17.    The Saint Louis Painters Vacation Trust (f/k/a Painters District Council No. 2

Vacation Trust and hereinafter “Vacation Trust”) is an employee benefit plan within the meaning

of §§ 3(3) and 502(d)(1) of ERISA, 29 U.S.C. §§ 1002(3) and 1132(d)(1).

       18.    The Vacation Trust is a multiemployer plan within the meaning of § 3(37)(A) of

ERISA, 29 U.S.C. § 1002(37)(A).

       19.    The Vacation Trust is administered within this judicial district in Maryland Heights,

St. Louis County, Missouri 63043.




                                                3
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 4 of 11 PageID #: 4



        20.     Plaintiffs Gregg Smith, David Doerr, Carl Farrell, Mark Borgmann, Walter Bazan,

Jr., and Joseph Keipp constitute the Joint Board of Trustees of the Vacation Trust (“Vacation

Trustees”).

        21.     The Vacation Trustees are the Plan Sponsor of the Vacation Trust within the

meaning of § 3(16)(B) of ERISA, 29 U.S.C. § 1002(16)(B).

        22.     The Vacation Trustees are fiduciaries within the meaning of § 3(21)(A) of ERISA,

29 U.S.C. § 1002(21)(A), with respect to the Vacation Trust.

        23.     The Painters District Council No. 2 Apprenticeship and Journeyman Training Trust

(hereinafter “Apprenticeship Trust”) is an employee benefit plan within the meaning of §§ 3(3)

and 502(d)(1) of ERISA, 29 U.S.C. §§ 1002(3) and 1132(d)(1).

        24.     The Apprenticeship Trust is a multiemployer plan within the meaning of § 3(37)(A)

of ERISA, 29 U.S.C. § 1002(37)(A).

        25.     The Apprenticeship Trust is administered within this judicial district at 18036 Eads

Avenue, Chesterfield, Missouri 63005.

        26.     Plaintiffs Gregg Smith, Michael Smith, Joseph Keipp, Carl Farrell, Dane McGraw,

and Joseph Mueller constitute the Joint Board of Trustees of the Apprenticeship Trust

(“Apprenticeship Trustees”).

        27.     The Apprenticeship Trustees are the Plan Sponsor of the Apprenticeship Trust

within the meaning of § 3(16)(B) of ERISA, 29 U.S.C. § 1002(16)(B).

        28.     The Apprenticeship Trustees are fiduciaries within the meaning of § 3(21)(A) of

ERISA, 29 U.S.C. § 1002(21)(A), with respect to the Apprenticeship Trust.

        29.     At all times relevant herein, Sutton Painting was doing business within the State of

Missouri and this judicial district.



                                                 4
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 5 of 11 PageID #: 5



       30.     Sutton Painting was at all times relevant herein an employer within the meaning of

§ 301 of the LMRA, 29 U.S.C. § 185, and within the meaning of §§ 3(5) and 515 of ERISA, 29

U.S.C. §§ 1002(5) and 1145.

       31.     Sutton Painting is signatory to and/or bound by a collective bargaining agreement

(hereinafter “CBA”) with the Painters since at least 2004.

       32.     The CBA bound Sutton Painting to submit fringe benefits, dues remissions,

contributions to the Labor Management Cooperation Fund and evidencing hours for each hour

worked by its construction employees at the rate and manner specified in the CBA and Trust

documents.

       33.     Under the terms of the CBA, Sutton Painting was obligated to make weekly reports

and contributions on all covered employees in its employ, showing the number of hours worked

and contributions due on its construction employees at the rate and manner specified in the CBA

and Trust documents.

       34.     Under the terms of the CBA, Sutton Painting was obligated to make contributions

on a weekly basis to the Trusts and the Labor Management Cooperation Fund.

       35.     Under the terms of the CBA, Sutton Painting was obligated to remit lawfully

deducted Union dues to the Painters.

       36.     The Trusts and the Trustees are third party beneficiaries of the CBA.

       37.     Under the terms of the CBA, Sutton Painting was bound to the Saint Louis Painters

Pension Trust and Plan Agreement (hereinafter “Pension Agreement”).

       38.     Under the terms of the CBA, Sutton Painting was bound to the Saint Louis Painters

Welfare Trust Agreement (hereinafter “Welfare Agreement”).




                                                5
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 6 of 11 PageID #: 6



       39.    Under the terms of the CBA, Sutton Painting was bound to the Saint Louis Painters

Vacation Plan and Trust Agreement (hereinafter “Vacation Agreement”).

       40.    Under the terms of the CBA, Sutton Painting was bound to the Painters District

Council No. 2 Apprenticeship and Journeyman Training Trust Agreement (hereinafter

“Apprenticeship Agreement”).

       41.    Article XXII of the Pension Agreement provides in part:

       The Trustees shall further have the right to audit the books of a participating
       employer when such is deemed necessary or desirable for the effective
       administration of the Trust.

       42.    Article XXI of the Welfare Agreement provides in part:

       The Trustees shall have the authority to reasonably request of any Employer, and
       an Employer, when so reasonably requested, shall furnish to the Trustees such
       information, documents and reports as may be necessary in the performance of their
       duties under this Agreement and Declaration of Trust.

       43.    Article XV of the Vacation Agreement provides in relevant part:

       The Trustees shall have the authority to reasonably request of any Employer, and
       an Employer when so reasonably requested shall furnish to the Trustees, such
       information and reports as may be necessary in the performance of their duties
       under this Plan and Trust Agreement.

       44.    Article V, § 4, of the Apprenticeship Agreement provides in part as follows:

       The Board of Trustees, or any authorized agent or representative of the Trustees,
       shall have the right, at all reasonable times during business hours, to enter upon the
       premises of any Employer obligated to contribute to the Fund and to examine and
       copy such of the books, records, paper and reports of said Employer as may be
       necessary to determine the hours of work done and places where done by any
       employees and to permit the Trustees to determine whether said Employer is
       making payment to the Trust of the amount required by the Collective Bargaining
       Agreement with said Employer.

       45.    Although demand has been made, Sutton Painting has failed and refused to file all

of the reports evidencing hours worked. This conduct is in breach of the CBA and in violation of

§ 515 of ERISA, 29 U.S.C. § 1145.


                                                 6
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 7 of 11 PageID #: 7



       46.        Although demand has been made, Sutton Painting has failed and refused to make

all the known required contributions and dues remissions. This conduct is a breach of the

Agreement and in violation of § 515 of ERISA, 29 U.S.C. § 1145.

       47.        Pursuant to § 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2), Sutton Painting is liable

to Plaintiffs for all unpaid principal amounts.

       48.        Pursuant to § 4 of the CBA and § 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2),

Sutton Painting is liable for liquidated damages on the unpaid principal amounts.

       49.        Pursuant to § 4 of the Agreement, § 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3),

and the Plan and Trust agreements referred to above, Sutton Painting is liable for liquidated

damages on amounts it has paid and may pay in an untimely manner.

       50.        Pursuant to § 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2), Sutton Painting is also

liable to pay to Plaintiffs the reasonable attorneys’ fees, accounting fees and costs incurred by

Plaintiffs in connection with this action.

       51.        Sutton Painting, by its breach of the Agreement, is in violation of § 515 of ERISA,

29 U.S.C. § 1145, and breach of the described Plan and Trust agreements, has caused and will

continue to cause Plaintiffs to incur reasonable legal, administrative, bookkeeping and accounting

fees and costs.

       WHEREFORE, Plaintiffs pray:

       (a)        That this Court enter a preliminary injunction requiring Sutton Painting, LLC, to

submit any reports and payments that may become due after the date of such injunction, within

seven (7) days after each weekly payroll date;




                                                   7
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 8 of 11 PageID #: 8



        (b)     That this Court order Sutton Painting, LLC, to submit all of its books and records

to a payroll audit so that Plaintiffs may determine the precise amount of its delinquencies, all in

accordance with the Agreement, Trust Agreements, and ERISA;

        (c)     That this Court award a judgment for contributions and liquidated damages to

Plaintiffs;

        (d)     That this Court award a judgment for dues amounts owed to the Plaintiffs;

        (e)     That this Court enter its judgment and decree against Sutton Painting, LLC, for the

principal amount of the delinquency together with interest and damages on that amount, all in

accordance with the CBAs and ERISA;

        (f)     That this Court enter an order compelling Sutton Painting, LLC, to specifically

perform their obligations to pay liquidated damages on principal amounts it has paid late or may

in the future pay late;

        (g)     That this Court enter an order permanently compelling and enjoining Sutton

Painting, LLC, to submit any and all future reports and payments in a timely fashion under the

current or any subsequent CBA to which Painters and Sutton Painting, LLC, are or may become

bound; and

        (h)     That this Court enter its judgment and decree against Sutton Painting, LLC, for

Plaintiffs’ reasonable attorneys’ fees and for Plaintiffs’ costs, including accounting, auditing, and

administrative costs, and for such other and further relief as the Court may deem just and proper.

                                              COUNT II

                                         SHELIA SUTTON

        52.     Plaintiffs restate and reallege all of the above paragraphs as if fully set forth herein.

        53.     Shelia Sutton is a natural person who can be found in Missouri.



                                                   8
   Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 9 of 11 PageID #: 9



       54.      Jurisdiction and venue of this cause of action and the parties to it is conferred upon

this Court by its privilege of supplemental jurisdiction under 28 U.S.C. § 1367, United Mine

Workers of America v. Gibbs, 383 U.S. 715 (1966).

       55.      On October 29, 2004, Shelia Sutton at the time of signing the CBA on behalf of

Sutton Painting, signed a document labeled “Guaranty of Payment of Wages, Dues Remissions,

Fringe Benefit Contributions, and Other Miscellaneous Payments.” (Hereinafter, the

“Guarantee”).

       56.      The Guarantee reads in pertinent part:

                The undersigned owner(s) of the Company guarantee(s) the payment of all
                amounts due the Union, members of the Union employed by the Company,
                and the Trustee [sic] of the various Trust Funds, pursuant to the collective
                bargaining agreement between the Company and the Union and any
                subsequent collective bargaining agreement, whether those amounts
                become due before or after the date of this guaranty. The owner(s) of the
                Company also guarantee(s) the payment of all damages, costs, fees and
                expenses which the union, the members of the Union employed by the
                Company or the Trustees of the Trust Funds may be entitled to recover from
                the Company pursuant to collective bargaining agreement or under any
                local, state, or federal law.

       57.      The Painters require new employers who wish to become signatory to the CBA

described above to furnish a personal guarantee on wages, dues remissions, fringe benefit

contributions and other miscellaneous payments before an employer becomes signatory to the

CBA.

       58.      Due to the risk of a signatory employer accumulating debt in non-payment to the

Painters and its associated Trust Funds, and for the protection of its bargaining unit members, the

Painters rely on the existence of the Guarantee to allow employers to become signatory to a CBA.

       59.      As stated above, Sutton Painting LLC, is delinquent to the Plaintiffs in an unknown

principal amount, as well as liquidated damages, interest, attorneys’ fees and costs.



                                                  9
 Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 10 of 11 PageID #: 10



       60.     Despite the existence of the Guarantee, Shelia Sutton, has failed and continues to

fail to act under her obligation created by the Guarantee, damaging the Painters and Plaintiffs.

       61.     Plaintiffs have performed all conditions precedent the Guarantee requires of them.

       WHEREFORE, Plaintiffs pray:

       (a)     That this Court enter its judgment and decree against Shelia Sutton jointly and

severally with Sutton Painting, LLC, for the known principal amount of the delinquency together

with interest and damages on that amount, and for any and all amounts discovered by an

accounting, all in accordance with the CBA and ERISA;

       (b)     That this Court enter an order compelling Shelia Sutton, jointly and severally with

Sutton Painting, LLC, to specifically perform their obligations to pay liquidated damages on

principal amounts Sutton Painting, LLC, has paid late or may in the future pay late;

       (c)     That this Court enter an order permanently compelling and enjoining Shelia Sutton,

jointly and severally with Sutton Painting, LLC, to submit any and all future payments in a timely

fashion under the current or any subsequent CBA to which Painters and Sutton Painting, LLC, are

or may become bound if Defendant Sutton Painting, LLC, fails to make payments as required by

the CBA; and

       (d)     That this Court enter its judgment and decree against Shelia Sutton, jointly and

severally with Sutton Painting, LLC, for Plaintiffs’ reasonable attorneys’ fees and for Plaintiffs’

costs, including accounting, auditing and administrative costs, and for such other and further relief

as the Court may deem just and proper.




                                                 10
Case: 4:20-cv-00109-JCH Doc. #: 1 Filed: 01/23/20 Page: 11 of 11 PageID #: 11



                                   Respectfully submitted,

                                   HARTNETT REYES-JONES, LLC

                                   /s/ Matthew J. Gierse
                                   MATTHEW J. GIERSE, No. 63828MO
                                   DANIEL J. BRYAR, No. 71815MO
                                   4399 Laclede Avenue
                                   St. Louis, Missouri 63108
                                   Telephone: 314-531-1054
                                   Facsimile: 314-531-1131
                                   mgierse@hrjlaw.com
                                   dbryar@hrjlaw.com

                                   Attorneys for Plaintiffs




                                     11
